                                               United States Bankruptcy Court
                                                    District of Hawaii
In re:                                                                                                     Case No. 11-01392-rjf
Liane N. Wilson                                                                                            Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0975-1                  User: darlene                      Page 1 of 2                          Date Rcvd: Aug 21, 2014
                                      Form ID: hn012                     Total Noticed: 29


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 23, 2014.
db            +Liane N. Wilson,    3703 Kaweoni Rd.,    Princeville, HI 96722-5332
1092552     ++ASPEN NATIONAL COLLECTIONS,     PO BOX 10689,    BROOKSVILLE FL 34603-0689
              (address filed with court: Aspen Coll,      Po Box 1965,    Corand Junction, CO 81502)
1092554       +Bishop Corporate Solutions,    1164 Bishop Street Suite 1515,     Honolulu, HI 96813-2816
1092556       +County Of Hawaii,    Real Property Tax Division,    101 Pauahi Street Suite 4,
                Hilo, HI 96720-4224
1092557       +Dean C. Wilson,    Po Box 223296,    Princeville, HI 96722-3296
1092558       +Douglas & Beatrice Allen,     C/O Oconnor Playdon And Guben,     4365 Kukui Grove Street Suite 103,
                Lihue, HI 96766-2004
1092560       +First Hawaiian Bank,    PO Box 4070,    Honolulu, HI 96812-4070
1092561       +Hawaiiana Management Co.,    711 Kapiolani Blvd. Ste. 700,     Honolulu, HI 96813-5249
1092562       +Hempey & Meyers, LLP,    3175 Elua Street, Suite C,     Lihue, HI 96766-1203
1092563        Indymac Mortgage Services,    Po Box 78826,    Phoenix, AZ 85062-8826
1092569       +Motooka Yamamoto And Revere,    1000 Bishop Street Suite 801,     Honolulu, HI 96813-4208
1092571       +Ocwen Loan Servicing,    12650 Ingenuity Dr.,    Orlando, FL 32826-2703
1092572       +Ocwen Loan Servicing,    Po Box 785057,    Orlando, FL 32878-5057
1092573       +Redline Recovery Systems,    6201 Bonhomme Street Suite 100s,     Houston, TX 77036-4379
1104015       +Robert Kilmer,    256 Papalaua Street,    Lahaina, HI 96761-1538
1092574        Robert S. Beard,    3703 Kaweonui Road,    Princeville, HI 96722-5332
1092576       +State Of Hawaii,    830 Punchbowl St.,    Honolulu, HI 96813-5095
1092577       +Sunrise Hospital & Medical Center,     P.O. Box 15298,    Wilmington, DE 19850-5298
1092578        US Department Of Education,    Po Box 530260,    Atlanta, GA 30353-0260

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
1092553      +EDI: BANKAMER2.COM Aug 22 2014 01:48:00      Bank Of America,   PO Box 17054,
               Wilmington, DE 19850-7054
1092555      +EDI: CHASE.COM Aug 22 2014 01:48:00      Chase,   Po Box 15298,   Wilmington, DE 19850-5298
1092559      +E-mail/Text: bankruptcy@dtasolutionsllc.com Aug 22 2014 01:49:01      Falso Solutions,
               425 Philips Blvd.,   Ewing, NJ 08618-1430
1092564       EDI: IRS.COM Aug 22 2014 01:48:00     Internal Revenue Service,    Cincinnati, OH 45999-0149
1092565       EDI: IRS.COM Aug 22 2014 01:48:00     Internal Revenue Service,    Ogden, UT 84201
1092566      +EDI: PHINPLAZA.COM Aug 22 2014 01:48:00      Law Office Of Mitchell Kay,   7 Penn Plaza 18th Floor,
               New York, NY 10001-3967
1092567       E-mail/Text: memberservicesadmin@resortcom.com Aug 22 2014 01:49:04
               Marina Del Sabalo, SA De CV,   Po Box 881069,    San Diego, CA 92168-1069
1092570      +E-mail/Text: bankruptcydepartment@ncogroup.com Aug 22 2014 01:49:01
               NCO Financial Systems Inc.,   10540 White Rock Rd. Suite 250,    Rancho, CA 95670-6094
1092575       EDI: DRIV.COM Aug 22 2014 01:48:00      Santander Consumer USA,   Po Box 660633,
               Dallas, TX 75266-0633
1092579      +EDI: WESTASSET.COM Aug 22 2014 01:48:00      West Asset Management, Inc.,   2703 N. Highway 75,
               Sherman, TX 75090-2567
                                                                                             TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
1092568         Marina El Cid & Yacht Club,   Camaron Sabalo S/N Mazatlan,                      Sinaloa, MX    82110
                                                                                                                   TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 23, 2014                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING



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District/off: 0975-1          User: darlene               Page 2 of 2                  Date Rcvd: Aug 21, 2014
                              Form ID: hn012              Total Noticed: 29


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 20, 2014 at the address(es) listed below:
              Barbara L. Franklin   on behalf of Debtor Liane N. Wilson barbara@island-law.com,
               i-got-notices@island-law.com;jdavis@island-law.com;jkeller@island-law.com;christine@island-law.co
               m
              Office of the U.S. Trustee.    ustpregion15.hi.ecf@usdoj.gov
              Richard A. Yanagi   yanagi7trustee@gmail.com, ryanagi@ecf.epiqsystems.com
              Richard A. Yanagi   on behalf of Trustee Richard A. Yanagi yanagi7trustee@gmail.com,
               ryanagi@ecf.epiqsystems.com
              Terri Didion    on behalf of U.S. Trustee    Office of the U.S. Trustee.
               USTPRegion15.HI.ECF@usdoj.gov
                                                                                            TOTAL: 5




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HN012


                         UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF HAWAII

                                                 Case No. 11−01392

                                                      Chapter 7

In re:

   Liane N. Wilson
   3703 Kaweoni Rd.
   Princeville, HI 96722

Social Security No.:
   xxx−xx−7266

Employer's Tax I.D. No.:



                                   NOTICE OF DISMISSAL OF CASE


Please take notice that on August 20, 2014 the court entered an order dismissing this bankruptcy case.
The original order is on file in the Clerk's Office of the court and can be accessed on the Internet using PACER for a
fee. Information on the PACER system can be found on the court's web page:www.hib.uscourts.gov

Dated: August 20, 2014                                      FOR THE COURT

Address of the Bankruptcy Clerk's Office:                   Clerk of the Bankruptcy Court:
1132 Bishop Street, Suite 250
Honolulu, Hawaii 96813                                      Michael B. Dowling

Telephone number: (808) 522−8100




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